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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                           The Honorable Thomas B. McNamara

 In re:                                      )
                                             )
 11380 SMITH RD, LLC                         )      Case Number 18-10965 TBM
 SSN: XXX-XX-1509;                           )      Chapter 11
                                             )
 Debtor.                                     )


           ORDER APPROVING FIRST AND FINAL APPLICATION OF BROWN
            DUNNING WALKER PC FOR ALLOWANCE OF COMPENSATION
                  AND REIMBURSEMENT OF EXPENSES IN PART

          THIS MATTER is before the Court on the "First and Final Application of Brown
   Dunning Walker PC for Allowance of Compensation and Reimbursement of Expenses" (Docket
   No. 149, the “Application”) as Special Litigation Counsel for 11380 Smith Rd, LLC, the Chapter
   11 Debtor (the “Debtor”) in the above-captioned case. The Applicant, Brown Dunning Walker
   PC (the "Applicant") asserts it provided proper notice of its Application and no objections
   have been filed thereto. The Court has reviewed the Application and the record in this case
   and finds that cause exist to approve the compensation and reimbursement of expenses, except
   for $312.50 in legal services rendered prior to the date the Applicant filed its Application (see
   Lazzo v. Rose Hill Bank (In re Schupbach Inv., LLC), 808 F.3d 1215 (10th Cir. 2015)).
   Accordingly, it is hereby

          ORDERED that the Application is GRANTED; fees in the amount of $24,917.50 and
   expenses of $89.62, for a total final award of $25,007.12 to Brown Dunning Walker PC
   for services provided to the Debtor from February 13, 2018, to October 31, 2018 are
   APPROVED.

        IT IS FURTHER ORDERED that the interim payment in the total amount of $8,827.83 is
   APPROVED.

          IT IS FURTHER ORDERED that Brown Dunning Walker PC is authorized to apply the
   $8,437.07 held in its COLTAF account to its remaining unpaid fees.

          IT IS FURTHER ORDERED that the Debtor is authorized to pay the total remaining
   unpaid attorneys’ fees in the total amount of $7,742.22.


   Dated: January 14, 2019
                                                 BY THE COURT:

                                                 ________________________
                                                 Thomas B. McNamara,
                                                 United States Bankruptcy Judge
